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17

18                             UNITED STATES DISTRICT COURT
19                            NORTHERN DISTRICT OF CALIFORNIA
20                                 SAN FRANCISCO DIVISION
21

22 IN RE GOOGLE PLAY STORE
   ANTITRUST LITIGATION,                           Case No. 3:21-md-02981-JD
23
   THIS DOCUMENT RELATES TO:
24                                                 DECLARATION OF CHRISTIAN
   Epic Games, Inc. v. Google LLC et al.,          CRAMER IN SUPPORT OF GOOGLE’S
25 Case No. 3:20-cv-05671-JD                       ADMINISTRATIVE MOTION TO FILE
                                                   UNDER SEAL
26 Match Group, LLC et al. v. Google LLC et al.,
   Case No. 3:22-cv-02746-JD
27                                                 Judge:   Hon. James Donato

28
                                                                    Case No. 3:21-md-02981-JD
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                          ADMINISTRATIVE MOTION TO FILE UNDER SEAL
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 1           I, Christian Cramer, declare as follows

 2           A.     I am currently a Finance Director for Non-Party Google LLC (along with Google-

 3 affiliated entities, “Google”). I have been employed by Google since September 2007 and have

 4 held my current position since March 2017. Over the course of my employment at Google, I have

 5 acquired personal knowledge of Google’s practices and procedures concerning the maintenance of

 6 the confidentiality of its strategic, business, and marketing information.

 7           B.     I submit this declaration in support of the Administrative Motion to File Under Seal

 8 filed on October 21, 2022 in In re Google Play Store Antitrust Litigation, Case No. 3:21-md-

 9 02981-JD, Epic Games, Inc. v. Google LLC et al., Case No. 3:20-cv-05671-JD, and Match Group,

10 LLC et al. v. Google LLC et al., Case No. 3:22-cv-02746-JD.

11           C.     The facts set forth in this declaration are true and correct to the best of my

12 knowledge, information, and belief, and are based on my personal knowledge of Google’s policies

13 and practices as they relate to the treatment of confidential information, the materials that were

14 provided to me and reviewed by me, and/or conversations with other knowledgeable employees of

15 Google. If called upon as a witness in this action, I could and would testify from my personal

16 knowledge and knowledge acquired from sources with factual foundation.

17           D.     As a matter of routine practice and internal policy, Google and its employees

18 strictly treat as confidential, inter alia, (i) internal, non-public financial information; (ii) non-
19 public commercial proposals to third parties; (iii) non-public agreements with third parties; (iv)

20 internal surveys and analyses of customer preferences, spending, revenue, market conditions,

21 business strategy, competitive dynamics, and commercial opportunities; (v) non-public financial

22 forecasts and business plans; (vi) trade secrets; and (vii) other sensitive material that, if publicly

23 disclosed, could potentially enable Google’s competitors to undermine Google’s competitive

24 position in the marketplace, allow current or prospective business partners or counterparties to

25 take unfair advantage of Google in negotiations or other business affairs, violate Google’s

26 confidentiality obligations to third parties, or otherwise prejudice Google’s business interests. In

27 my experience and to the best of my knowledge, Google does not disclose internal documents,

28 data, or information of this nature outside of the company, except to authorized third parties when
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 1 so required or permitted by law or contract. To that end and in order to prevent inadvertent

 2 revelation of this information to the public, Google has several policies in place like prohibiting

 3 employees from accessing information beyond what is reasonably necessary to perform their

 4 duties, limiting access to certain internal systems, permitting access to document databases on a

 5 need-to-know basis, and requiring the use of an encrypted email system. I am also aware that,

 6 generally, Google employees are required to sign a confidentiality agreement requiring each

 7 employee to keep information confidential, and shared only within the company.

 8          E.      Third parties—including Google’s customers, suppliers, business partners, and

 9 others who interact or transact with Google in an array of contexts—entrust highly sensitive, non-

10 public, and confidential information to Google every day. These third parties have an expectation

11 that Google can and will protect the confidentiality of that information. In many cases, Google is

12 contractually bound to keep that information confidential. In my experience and to the best of my

13 knowledge, Google does not disclose internal documents, data, or information reflecting third

14 parties’ confidential information outside of the company, unless and only to the extent it has been

15 authorized (or is lawfully permitted or required) to do so. Rather, as noted above, Google policies

16 and protocols are designed to ensure the confidentiality of third-party material is strictly

17 maintained.

18          F.      I understand that the Administrative Motion to File Under Seal requests that the
19 Court maintain the specific information identified below under seal. For the reasons stated below,

20 this information is confidential and highly sensitive, and if publicly disclosed, could significantly

21 prejudice Google's competitive position by harming Google's relationship with business partners,

22 putting Google at unfair disadvantage in future business negotiations, and permitting Google's

23 competitors to gain unfair advantage in competition with Google.

24                                   Specific Information to Be Sealed
25           Defendants’ Opposition to Epic’s and Match’ Motions to Amend Complaints
26                                             [Dkt. No. 355]
27          1.      Page 3, lines 25 (between “developer” and “as ‘illustrative’”). This text
28 contains confidential, non-public information regarding a non-party developer and implicates the
                                                -2-                   Case No. 3:21-md-02981-JD
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 1 non-party’s confidentiality interests by revealing the identity of that developer, specific deal terms

 2 and financial considerations between Google and that developer, when the developer has a

 3 reasonable expectation that Google will maintain the confidentiality of contractual agreements and

 4 negotiations. Further, disclosure of this non-public information is likely to result in competitive

 5 harm to Google, as it reveals strategic decision-making which, for example, could give a

 6 competitor or potential business partner unfair leverage in competing against or negotiating with

 7 Google. Moreover, Google's competitors could use this non-party information to unfairly target

 8 Google's developer partners and offer specific deal terms designed to undercut those offered by

 9 Google.

10          2.     Page 5, lines 4-7 (between “They allege that, through ‘Project Hug,’ Google”
11 and end of sentence). This text contains confidential, non-public information regarding Google’s

12 contractual agreements with non-party developers. Public disclosure of this information is likely

13 to result in competitive harm to Google, as it reveals Google’s strategic decision-making , which,

14 for example, could give a competitor or potential business partner unfair leverage in competing

15 against or negotiating with Google. Moreover, Google's competitors could use this non-party

16 information to unfairly target Google's developer partners.

17          3.     Page 5, lines 13-14 (between “reached with” and “Id.’”). This text contains
18 confidential, non-public information regarding a non-party developer, and implicates the non-
19 party’s confidentiality interests, by revealing the identity of a Google business partner who is not

20 party to this litigation, and who has a reasonable expectation that Google will maintain the

21 confidentiality of contractual terms and its own confidential statements made during negotiations.

22 Further, disclosure of this non-public information is likely to result in competitive harm to Google,

23 as it reveals strategic decision-making, which, for example, could give a competitor or potential

24 business partner unfair leverage in competing against or negotiating with Google. Moreover,

25 Google's competitors could use this non-party information to unfairly target Google's developer

26 partners.

27          4.     Page 6, line 27 (between “developers identified in the motions––” and “ ––were
28 produced”). This text contains confidential, non-public information regarding a non-party
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 1 developer, and implicates the non-party’s confidentiality interests, by revealing the identity of a

 2 Google business partner who is not party to this litigation, and who has a reasonable expectation

 3 that Google will maintain the confidentiality of contractual terms and its own confidential

 4 statements made during negotiations. Further, disclosure of this non-public information is likely

 5 to result in competitive harm to Google, as it reveals strategic decision-making, which, for

 6 example, could give a competitor or potential business partner unfair leverage in competing

 7 against or negotiating with Google. Moreover, Google's competitors could use this non-party

 8 information to unfairly target Google's developer partners

 9          5.      Page 7, lines 4-5 (between “focused questioning,” and “, at his deposition nine
10 months ago.”). This text contains confidential, non-public information regarding a non-party

11 developer, and implicates the non-party’s confidentiality interests, by revealing the identity of a

12 Google business partner who is not party to this litigation, and who has a reasonable expectation

13 that Google will maintain the confidentiality of contractual terms and its own confidential

14 statements made during negotiations. Further, disclosure of this non-public information is likely

15 to result in competitive harm to Google, as it reveals strategic decision-making, which, for

16 example, could give a competitor or potential business partner unfair leverage in competing

17 against or negotiating with Google. Moreover, Google's competitors could use this non-party

18 information to unfairly target Google's developer partners.
19          6.      Page 7, line 8 (between “developers,’ including” and “‘to stop them from’”).
20 This text contains confidential, non-public information regarding a non-party app developer and

21 implicates the non-party’s confidentiality interests by revealing the identity of that developer and

22 its statements made during negotiations, when that developer has a reasonable expectation that

23 Google will maintain the confidentiality of those negotiations and related contractual agreements.

24 Further, disclosure of this non-public information is likely to result in competitive harm to Google,

25 as it reveals the company’s internal strategic decision-making, which, for example, could give a

26 competitor or potential business partner unfair leverage in competing against or negotiating with

27 Google. Additionally, Google's competitors could use this non-party information to unfairly target

28 Google's developer partners.
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 1          7.     Page 7, lines 20-22 (between start of sentence and “and Google employee”;
 2 between “testified that Google and” and “never entered”; between “an agreement that” and

 3 “would not open”; and between “Ex. D” and “Dep.”). This text contains confidential, non-

 4 public information regarding a non-party app developer and implicates the non-party’s

 5 confidentiality interests by revealing the identity of that developer, when that developer has a

 6 reasonable expectation that Google will maintain the confidentiality of those negotiations and

 7 related contractual agreements. Further, disclosure of this non-public information is likely to

 8 result in competitive harm to Google, as it reveals the company’s internal strategic decision-

 9 making, which, for example, could give a competitor or potential business partner unfair leverage

10 in competing against or negotiating with Google. Additionally, Google's competitors could use

11 this non-party information to unfairly target Google's developer partners.

12          8.     Page 10, line 24 (between “amendments mention,” and “, but they also”). This
13 text contains confidential, non-public information regarding Google’s contractual agreements with

14 non-party developers. Public disclosure of this information is likely to result in competitive harm

15 to Google, as it reveals Google’s strategic decision-making , which, for example, could give a

16 competitor or potential business partner unfair leverage in competing against or negotiating with

17 Google. Moreover, Google's competitors could use this non-party information to unfairly target

18 Google's developer partners.
19

20   Pomerantz Declaration iso Opposition to Epic’s and Match’ Motions to Amend Complaints
21                                             [Dkt. No. 355]
22          9.     Ex. C to Pomerantz Declaration (M. Marchak Dep. Tr.), page 382:24 (between
23 “recollection” and end of line). This text contains confidential, non-public information

24 regarding non-party developers and implicates the non-parties’ confidentiality interests by

25 revealing the identity of those developers, when the non-party developers have a reasonable

26 expectation of confidentiality. This text further reflects the substance of commercially sensitive

27 discussions relating to those developers’ business strategies, and discussion of confidential

28 commercial agreements with those developers. Public disclosure of this information could cause
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 1 competitive harm to both non-parties and to Google. For example, Google’s competitors could

 2 use this information in their own commercial negotiations to obtain a competitive advantage

 3 against Google with respect to deal terms. With respect to the non-parties, disclosure of their non-

 4 public, confidential discussions with Google could negatively affect their relationship with Google

 5 and future business dealings.

 6          10.    Ex. C to Pomerantz Declaration (M. Marchak Dep. Tr.), page 383:1-6
 7 (between start of page and “I don’t”; and between “more details” and “We’ll get”). This

 8 text contains confidential, non-public information regarding non-party developers and implicates

 9 the non-parties’ confidentiality interests by revealing the identity of those developers, when the

10 non-party developers have a reasonable expectation of confidentiality. This text further reflects

11 the substance of commercially sensitive discussions relating to those developers’ business

12 strategies, and discussion of confidential commercial agreements with those developers. Public

13 disclosure of this information could cause competitive harm to both non-parties and to Google.

14 For example, Google’s competitors could use this information in their own commercial

15 negotiations to obtain a competitive advantage against Google with respect to deal terms. With

16 respect to the non-parties, disclosure of their non-public, confidential discussions with Google

17 could negatively affect their relationship with Google and future business dealings.

18          11.    Ex. C to Pomerantz Declaration (M. Marchak Dep. Tr.), page 384:12-14
19 (between “not only” and “considered their own”). This text contains confidential, non-public

20 information regarding non-party developers and implicates the non-parties’ confidentiality

21 interests by revealing the identity of those developers, when the non-party developers have a

22 reasonable expectation of confidentiality. This text further reflects the substance of commercially

23 sensitive discussions relating to those developers’ business strategies, and discussion of

24 confidential commercial agreements with those developers. Public disclosure of this information

25 could cause competitive harm to both non-parties and to Google. For example, Google’s

26 competitors could use this information in their own commercial negotiations to obtain a

27 competitive advantage against Google with respect to deal terms. With respect to the non-parties,

28
                                               -6-                   Case No. 3:21-md-02981-JD
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 1 disclosure of their non-public, confidential discussions with Google could negatively affect their

 2 relationship with Google and future business dealings.

 3         12.     Because the public disclosure of the confidential material described above would

 4 harm Google’s competitive position in the marketplace, there is good cause and there are

 5 compelling reasons to seal this material.

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               1           I declare under penalty of perjury that the foregoing is true and correct. Executed on this

               2 20th day of October 2022 in Wailea, Maui County, Hawaii.

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                                                                     Christian Cramer
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